               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MONTANA
                          BUTTE DIVISION
ENGINEERED STRUCTURES,                   CV-23-54-BU-BMM
INC.
             Plaintiff,
    vs.
BEAVERHEAD COUNTY HIGH
SCHOOL DISTRICT,
             Defendant.

           ORDER OF DISMISSAL WITHOUT PREJUDICE


      This matter is the before the Court on Plaintiff’s Fed. R. Civ. P. 41(a)

Notice of Dismissal without Prejudice. THEREFORE, this matter is dismissed

without prejudice under Fed. R. Civ. P. 41(a).



      DATED this 29th day of September, 2023.
